Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 1 of 45            FILED
                                                                    2018 Feb-13 PM 10:31
                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 2 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 3 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 4 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 5 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 6 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 7 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 8 of 45
  Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 9 of 45



                                     EXHIBIT 3                                    State or Del._..
                                                                             .   Seclretar:Y or State
                                                                              Divu.1on of CmparatiCIIIS
                                                                           Dlllinnd 04: 30 .Fii 07/11/2011
                                                                             YlUlD 04: 30 Bl 07/ll/2011
                                                                           SRV 110809090 - 4181381 FrIJl

              SECOND CERTlli'ICATE OF AMENDMENT TO
    SECOND AMENDED AND RESTATED Cl:R11F1CATE OF INCORPORATION

                                               OF
                  CORRECTIONAL HEALTHCARE COMPANIES, INC,



       Correctional Hcahhcare Companies, Inc., a corporation organized and existing under the
provisions of the General Corporation Law of tho State of Delaware, does hereby certify that:
       ONE: The name of the corporation is Correctional Healthcare Companies, Inc. (the
"Corporation''). The date of filing of the original Certificate of Incorporation of the Corporation
with the Secretary of State of the State of Delaware, was Jwio 26, 2006. The date of the filing of
the Amended and Restated Certificate of Incorporation was Mardi 26, 2007 and the filing of the
Second Amended and Restated Certificate of Incorporation was June 8, 2010. The First
Amendment to the Second Amended and Restated Certificate of Incorpmation was filed
December 17, 2010.
        TWO: Article I of the Certificate of Incorporation is hereby amended IDI restated, in its
entirety, as follows:
                                           "ARTICLE I

       The name of the corporation is CHC Companies, Inc. (the "Comoration'')."
       THREE: The foregoing amendment has been duly adopted in acoorclance with the
provisions of Sections 228 and 242 of the General Corporation Law of the State of Delaware.
     IN WITNESS WHEREOF, the Corporation has caused this Second Certificate of
Amendment to be signed by its Chief Executive Officer this l l~day of July, 2011.
                                     CORRECTIONAL HEALTHCARE COMPANIES, INC.


                                     By:     Isl Douglas D, Goetz
                                             Douglas D. Goetz,
                                             OiicfExccutive Officer
        Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 10 of 45

                                                                                        State of Delaware
                                                                                       Secret:a.rv of Stat:e
                                                                                  Division 0£ Corporations
 J                                                                               Delivered 04: 30 PM 07/11/2011
                                                                                   FILED 04:30 PM 07/11/2011
                                                                                 SRV 110809107 - 4782287 FILE


                             FIRST CERTIFICATE OF AMENDMENT TO
                                CERTIFICATE OF INCORPORATION

                                                    OF

                                        CUC COMPANIES, LTD.



            CH C Companies, Ltd., a corporation organized and existing under the provisions of the
     General Corporation Law of the State of Delaware, does hereby certify that:

             ONE; The name of the corporation is CHC Companies, Ltd. (the "Cm:poration"). The
     date of filing of the original Certificate ofincorporation of the Corporation with the Secretary of
     State of the State of Delaware was January 28, 2010.

             TWO: Article I of the Certificate of Incorporation is hereby amended and restated, in its
     entirety, as follows:

                                               "ARTICLE I

           The name of the corporation is Correctional Healthcare Companies, Inc. (the
     "Corporation,,)_"

            THREE: The foregoing amendment has been duly adopted in accordance with the
     provisions of Sections 228 and 242 of the General Corporation Law of the State of Delaware.

          IN WITNESS WHEREOF, the Corporation has caused this First Certificate of
     Amendment to be signed by its Chief Executive Officer this {I f'lday of July, 2011.

                                                  CHC COMPANIES, LTD.



                                                  By:    Isl Douglas D. Goetz
                                                         Douglas D. Goetz,
                                                         Chief Executive Officer




\,



                                                                                       Ray v. JCS 026165
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 11 of 45

                          EXHIBIT 4
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 12 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 13 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 14 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 15 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 16 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 17 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 18 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 19 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 20 of 45
     Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 21 of 45
                                           Colorado Secretary of State   EXHIBIT 5
                                           Date and Time: 07/08/2015 12:05 PM
Document must be filed electronically.     ID Number: 20061265401
Paper documents are not accepted.
Fees & forms are subject to change.                                       Document number: 20151444662
For more information or to print copies                                   Amount Paid: $60.00
of filed documents, visit www.sos.state.co.us.
                                                                                                   ABOVE SPACE FOR OFFICE USE ONLY



                                                 Periodic Report
          filed pursuant to §7-90-301, et seq. and §7-90-501 of the Colorado Revised Statutes (C.R.S)

ID number:                                ______________
                                          20061265401

Entity name:                              ______________________________________________________
                                          CHC Companies, Inc.

Jurisdiction under the law of which the
entity was formed or registered:          ______________________________________________________
                                          Delaware


1. Principal office street address:       ______________________________________________________
                                          1283 Murfreesboro Rd. Ste 500
                                                                        (Street name and number)
                                          Ste 500
                                          ______________________________________________________
                                          Nashville
                                          __________________________ TN ____________________
                                                                     _____ 37217
                                                            (City)                    (State)            (Postal/Zip Code)
                                          _______________________ ______________
                                                                  United States
                                                  (Province – if applicable)        (Country – if not US)

2. Principal office mailing address:      ______________________________________________________
   (if different from above)                             (Street name and number or Post Office Box information)
                                          ______________________________________________________
                                          __________________________ _____ ____________________
                                                            (City)                    (State)            (Postal/Zip Code)
                                          _______________________ ______________
                                                  (Province – if applicable)        (Country – if not US)

3. Registered agent name: (if an individual) ____________________ ______________ ______________ _____
                                                         (Last)                    (First)                  (Middle)          (Suffix)

               or   (if a business organization) ______________________________________________________
                                                  Corporate Creations Network Inc.

4. The person identified above as registered agent has consented to being so appointed.

5. Registered agent street address:       ______________________________________________________
                                          3773 Cherry Creek North Drive #575
                                                                        (Street name and number)
                                          ______________________________________________________
                                          __________________________
                                          Denver                      CO    80209
                                                                            ____________________
                                                            (City)                    (State)            (Postal/Zip Code)



6. Registered agent mailing address:      ______________________________________________________
   (if different from above)                             (Street name and number or Post Office Box information)
                                          ______________________________________________________
                                          __________________________ _____ ____________________
                                                            (City)                    (State)            (Postal/Zip Code)
                                          _______________________ ______________
                                                  (Province – if applicable)     (Country – if not US)



REPORT                                                Page 1 of 2                                                      Rev. 12/01/2012
       Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 22 of 45


Notice:
Causing this document to be delivered to the secretary of state for filing shall constitute the affirmation or
acknowledgment of each individual causing such delivery, under penalties of perjury, that the document is the
individual's act and deed, or that the individual in good faith believes the document is the act and deed of the
person on whose behalf the individual is causing the document to be delivered for filing, taken in conformity
with the requirements of part 3 of article 90 of title 7, C.R.S., the constituent documents, and the organic
statutes, and that the individual in good faith believes the facts stated in the document are true and the
document complies with the requirements of that Part, the constituent documents, and the organic statutes.

This perjury notice applies to each individual who causes this document to be delivered to the secretary of
state, whether or not such individual is named in the document as one who has caused it to be delivered.

7. Name(s) and address(es) of the
   individual(s) causing the document
   to be delivered for filing:                        ____________________
                                                      Cotton               ______________
                                                                           Erika          ______________ _____
                                                                    (Last)                      (First)                  (Middle)           (Suffix)

                                                      ______________________________________________________
                                                      1283 Murfreesboro Rd. Ste 500
                                                                       (Street name and number or Post Office Box information)
                                                      ______________________________________________________
                                                      __________________________
                                                      Nashville                  ____
                                                                                 TN ______________________
                                                                                      37217
                                                                      (City)                        (State)             (Postal/Zip Code)
                                                                              United States
                                                      _______________________ ______________
                                                            (Province – if applicable)        (Country – if not US)
     (The document need not state the true name and address of more than one individual. However, if you wish to state the name and address
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Disclaimer:
This form, and any related instructions, are not intended to provide legal, business or tax advice, and are
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legal requirements as of its revision date, compliance with applicable law, as the same may be amended from
time to time, remains the responsibility of the user of this form. Questions should be addressed to the user’s
attorney.




REPORT                                                           Page 2 of 2                                                        Rev. 12/01/2012
              Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 23 of 45


                                                                                STATE OF TENNESSEE
                                                                         Tre Hargett, Secretary of State
                                                                            Division of Business Services
                                                                                   William R. Snodgrass Tower
                                                                                 312 Rosa L. Parks AVE, 6th FL
                                                                                      Nashville, TN 37243-1102


                                               Filing Information

Name:        CORRECT CARE SOLUTIONS, LLC
General Information
SOS Control #              000566248                                           Formation Locale:   KANSAS
Filing Type:               Limited Liability Company - Foreign                 Date Formed:        08/29/2003
                           12/26/2007 12:41 PM                                 Fiscal Year Close   12
Status:                    Active                                              Member Count:       3
Duration Term:             Perpetual
Managed By:                Manager Managed

Registered Agent Address                                         Principal Address
CORPORATE CREATIONS NETWORK INC.                                 ERIKA COTTON
205 POWELL PL                                                    STE 500
BRENTWOOD, TN 37027-7522                                         1283 MURFREESBORO PIKE
                                                                 NASHVILLE, TN 37217-2421

The following document(s) was/were filed in this office on the date(s) indicated below:
Date Filed   Filing Description                                                                          Image #
04/08/2015 Registered Agent Change (by Entity)                                                           B0088-0203
    Registered Agent Organization Name Changed From: BUSINESS FILINGS INCORPORATED To: CORPORATE
    CREATIONS NETWORK INC.
    Registered Agent Physical Address 1 Changed From: 800 S GAY ST To: 205 POWELL PL
    Registered Agent Physical Address 2 Changed From: STE 2021 To: No Value
    Registered Agent Physical City Changed From: KNOXVILLE To: BRENTWOOD
    Registered Agent Physical County Changed From: KNOX COUNTY To: WILLIAMSON COUNTY
    Registered Agent Physical Postal Code Changed From: 37929-9710 To: 37027-7522
03/23/2015 2014 Annual Report                                                                            B0073-8789
    Principal Address 3 Changed From: KATHY POWELL To: ERIKA COTTON
    Member Count Changed From: 1 To: 3
    Managed By Changed From: Member Managed To: Manager Managed
10/16/2014 Mailing Address Update                                                                        B0001-1127
03/28/2014 2013 Annual Report                                                                            A0228-1682
    Principal Address 3 Changed From: No value To: KATHY POWELL
03/29/2013 2012 Annual Report                                                                            A0169-3006
    Principal Address 1 Changed From: 3343 PERIMETER HILL DR To: 1283 MURFREESBORO PIKE
1/12/2016 2:25:57 PM                                                                                        Page 1 of 3
             Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 24 of 45


                                          Filing Information

Name:       CORRECT CARE SOLUTIONS, LLC
    Principal Address 2 Changed From: STE 300 To: STE 500
    Principal Postal Code Changed From: 37211-4147 To: 37217-2421
    Managed By Changed From: Manager Managed To: Member Managed
05/04/2012 Registered Agent Change (by Entity)                                                    7051-1519
    Registered Agent First Name Changed From: Chelli To: No Value
    Registered Agent Last Name Changed From: Jones To: No Value
    Registered Agent Middle Name Changed From: R To: No Value
    Registered Agent Organization Name Changed From: No Value To: Business Filings Incorporated
    Registered Agent Physical Address 1 Changed From: 1283 MURFREESBORO PIKE To: 800 S GAY ST STE 2021
    Registered Agent Physical Address 2 Changed From: STE 500 To: No Value
    Registered Agent Physical City Changed From: NASHVILLE To: KNOXVILLE
    Registered Agent Physical County Changed From: DAVIDSON COUNTY To: KNOX COUNTY
    Registered Agent Physical Postal Code Changed From: 37217-2432 To: 37929-9710
04/04/2012 Registered Agent Change (by Entity)                                                    A0117-3268
    Registered Agent Middle Name Changed From: No Value To: R
    Registered Agent Physical Address 1 Changed From: 3343 PERIMETER HILL DR To: 1283 MURFREESBORO
    PIKE
    Registered Agent Physical Address 2 Changed From: STE 300 To: STE 500
    Registered Agent Physical Postal Code Changed From: 37211-4147 To: 37217-2432
04/04/2012 Mailing Address Update
02/01/2012 2011 Annual Report                                                                     A0102-2678
    Principal Address 1 Changed From: 3343 PERIMETER HILL DRIVE STE 300 To: 3343 PERIMETER HILL DR
    Principal Address 2 Changed From: No value To: STE 300
    Principal Postal Code Changed From: 37211 To: 37211-4147
    Principal County Changed From: No value To: DAVIDSON COUNTY
01/19/2011 2010 Annual Report                                                                     A0054-0745
    Member Count Changed From: 9 To: 1
    Managed By Changed From: Member Managed To: Manager Managed
    Registered Agent First Name Changed From: PATRICK To: Chelli
    Registered Agent Last Name Changed From: CUMMISKEY To: Jones
    Registered Agent Physical Address 1 Changed From: 3343 PERIMETER HL To: 3343 PERIMETER Hill Drive
    Registered Agent Physical Address 2 Changed From: DR STE 300 To: STE 300
08/12/2010 Articles of Correction                                                                 6754-2686
02/18/2010 2009 Annual Report                                                                     6657-0166
03/18/2009 2008 Annual Report                                                                     6478-3070
    Member Count Changed
04/01/2008 2007 Annual Report                                                                     6274-2194

1/12/2016 2:25:57 PM                                                                                 Page 2 of 3
              Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 25 of 45


                                     Filing Information

Name:        CORRECT CARE SOLUTIONS, LLC
12/26/2007 Initial Filing                                                       6172-0193

Active Assumed Names (if any)                                            Date       Expires




1/12/2016 2:25:57 PM                                                               Page 3 of 3
1/7/2016                                      Correct Care Solutions | Our Team
                     Case 2:12-cv-02819-RDP Document      670-2 Filed 02/13/18 Page 26 of 45


                                                                                   EXHIBIT 6


           OUR TEA M
           Experienced People




    CCS professionals are unlike any other in the behavioral and correctional healthcare industry.
      They are better prepared, proactive, and understand the lasting value of building authentic
    relationships with their partners and patients. In short, CCS considers its employees to be the
                                       company’s greatest asset.
    From day one, joining the CCS team means embarking on a career that is filled with learning,
    collaboration, problem solving, communication, and fine tuning / expanding skill sets. Our goal
      is to keep our teams engaged in a manner that leads to job fulfillment and opportunities to
               grow. To find out how you can be a member of the CCS team, click here.




                                                L EA DERSH I P

   CCS leaders are among the most talented behavioral and correctional healthcare professionals
   in the country. Their collective experience and first-hand knowledge makes the team not only a
   valuable asset for the company’s partners and patients, but also for the extended CCS network
                       of professionals working in various divisions and country.


http://www.correctcaresolutions.com/our-team/                                                         1/5
1/7/2016                                      Correct Care Solutions | Our Team
                     Case 2:12-cv-02819-RDP Document      670-2 Filed 02/13/18 Page 27 of 45




                    JERRY BOYLE, Founder & Executive Chairman of Board




                    PATRICK CUMMISKEY, President, Correct Care Solutions
                    Group Holdings




                    DR. CARL KELDIE, MD, FACEP, Chief Clinical Officer




                    CHRIS BOVE, President, Local Detention Division




                    MARTA PRADO, President, Correct Care Recovery Solutions
                    (CCRS)



                    BOB MARTIN, Executive Vice President, Chief Information
                    Officer



                    JON BOSCH, Executive Vice President Accreditation and
                    Operational Compliance




                    CARY MCCLURE, Executive Vice President Ancillary Services




http://www.correctcaresolutions.com/our-team/                                                  2/5
1/7/2016                                      Correct Care Solutions | Our Team
                     Case 2:12-cv-02819-RDP Document      670-2 Filed 02/13/18 Page 28 of 45




                     Cary McClure is a Certified Public Accountant with 30 years of experience in
                     accounting and finance. Currently, he works on special projects for the CCS
                     Finance Division, including work related to the analysis and implementation of new
                     company acquisitions, and internal special project assignments. His past
                     experience includes 18 years as the Assistant Controller, Controller, and then Chief
                     Financial Officer (CFO) of a 420-bed urban medical center in both non-profit and
                     for-profit settings; CFO of a successful startup and operation of a $100 million for-
                     profit medical center; and division CFO for the largest for-profit psychiatric hospital
                     company in the country. He was selected by the Kansas Medicaid program to serve
                     as a consultant to assist in the design and implementation of the Kansas Medicaid
                     Diagnosis Related Group hospital payment system.
                     Cary has authored two articles on healthcare finance that were published in national
                     healthcare journals. He earned a bachelor’s degree with majors in accounting and
                     business administration from the University of Kansas.



                    JORGE DOMINICIS, Chief Executive Officer




                    DAVID WATSON, Chief Financial Officer




                    DAVID PERRY, Chief Administrative Officer & General
                    Counsel



http://www.correctcaresolutions.com/our-team/                                                              3/5
1/7/2016                                      Correct Care Solutions | Our Team
                     Case 2:12-cv-02819-RDP Document      670-2 Filed 02/13/18 Page 29 of 45

                    DON HOUSTON, President, State and Federal Division




                     Don Houston currently serves as President of the State and Federal Division. In this
                     role, Don is responsible for the overall management, administration and business
                     development of the division. In addition to state and private prisons, community
                     treatment and private probation services fall under his supervision. Previously, he
                     served as the President of Physicians Network Association (PNA) for two years.
                     When PNA was acquired by Correctional Healthcare Companies (CHC) he became
                     the Chief Operations Officer of CHC, serving in that role until the 2014 merger of
                     CHC with CCS.
                     Don has over 30 years correctional experience, including 18 as a Senior Regional
                     Vice President with a major private corrections corporation and seven years with the
                     Texas Department of Criminal Justice. He has extensive corporate experience in
                     project development, operations, administration as well as experience working with
                     a variety of state legislatures, local governments and executive branches of
                     government.



                    DR. CASSANDRA NEWKIRK, Vice President, Chief
                    Psychiatric Officer



                    STAN WOFFORD, Executive Vice President Operations,
                    State Division



                    KEVIN JORDAN, Executive Vice President Chief of Business
http://www.correctcaresolutions.com/our-team/                                                           4/5
1/7/2016                                      Correct Care Solutions | Our Team
                     Case 2:12-cv-02819-RDP Document      670-2 Filed 02/13/18 Page 30 of 45
                    Support and Analytics



                    SCOTT A. PUSTIZZI, SPHR, Senior Vice President of Human
                    Resources




                                  S E RV E   OUR  P A TI E NTS .   GROW  Y OURS E L F.     RE A DY   TO
                                                            L E A RN  MORE ?


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                               800-592-2974
                                
                               Looking to Advance Your Career? Click Here to visit our
                               Careers Center
                                
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http://www.correctcaresolutions.com/our-team/                                                             5/5
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 31 of 45

                           EXHIBIT A
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 32 of 45



                      EXHIBIT B
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 33 of 45




                    EXHIBIT C
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 34 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 35 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 36 of 45




                      EXHIBIT D
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 37 of 45


                    EXHIBIT E
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 38 of 45


                         EXHIBIT F
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 39 of 45


                      EXHIBIT G
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 40 of 45



                      EXHIBIT H
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 41 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 42 of 45
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 43 of 45



                        EXHIBIT I
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 44 of 45




                       EXHIBIT J
Case 2:12-cv-02819-RDP Document 670-2 Filed 02/13/18 Page 45 of 45



                       EXHIBIT K




                                                                     PL0001
